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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x

NINO MARTINENKO, on behalf of CASE NO. 22 CV 518
herself and others similarly situated,

Plaintiff,

V.

212 STEAKHOUSE, INC., and
NIKOLAY VOLPER,

Defendants.

DECLARATION OF DAGMARA HUK

I, Dagmara Huk, under penalty of perjury, affirm as follows:

I.

I joined this action as an Opt-In Plaintiff. I am familiar with the facts and circumstances
set forth herein.

I submit this declaration in support of Plaintiff's motion for class certification pursuant to
Fed. R. Civ. P. 23.

I worked at 212 Steakhouse (the “Restaurant”) as a bartender from 2020 through 2021.
Defendants did not present me with, nor did I sign, a written wage notice.

Attached as Exhibit 1 are true and correct copies of pay stubs for the Restaurant’s front of
house employees. I received these documents from Imran Sajid so that I could write out
employees’ paychecks. The pay stubs in this Exhibit are for the following pay periods:
February 22-28, 2021; June 7-13, 2021; and September 13-19, 202.

Mr. Sajid did not have a formal title at the Restaurant. However, among other things he

assisted with the payroll process.
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7. I am familiar with the payroll practices at the Restaurant as well as the claims in this
lawsuit.

8. Iam prepared to act as a class representative in this action.

9. As aclass representative, I am prepared to vigorously pursue the claims of my coworkers.

10. I do not have any conflicts of interest with any of the other employees who work or worked

at the Restaurant.

I declare under penalty of perjury of the law of the United States that the foregoing is true

and correct.
DocuSigned by:
Dated; 12/9/2022 ay.t Duh
New York, New York Dagmara Huk
